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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGI A
                               BRUNSWICK DIVISIO N



UNITED STATES OF AMERIC A

                                                       CASE NO . : CR205-3 7
               V.

JOSE REYES VILLALOBOS
ROMAN GUERR A
JOSE VARGAS
ANGEL MORFIN
JOAQUIN MEJIA
SUZANNA CARISOSA
LAURA DAVENPORT
BRIDGETTE REYNOLDS
JEREMY THOMPSON
ALMA MARIE WILLIAMS
KATHERINE CRAPPS


                                      ORDER


       Defendant Roman Guerra appeared before the undersigned for an Initial

Appearance on August 23, 2005, and an Order Setting Conditions of Release was

entered the same date . Defendant Guerra failed to appear at an Arraignment on August

30, 2005, and a warrant was issued for his arrest . Defendant Guerra has now been

arrested, and he is in custody . The August 23, 2005 Order Setting Conditions of Release
is hereby VACATED . Defendant Guerra shall be held without bond pending the

disposition of this case .

       SO ORDERED , this 117 day of February, 2007 .



                                                 AMES E. GRAHA M
                                                UNITED STATES MAGISTRATE JUDGE
